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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL TRIPO
Civil Action Number
Plaintiff(s) 3:ll-CV-02050-MAS-DEA

VS.
STIPULATION OF DISMISSAL

 

ROBERT WOOD JOHNSON MEDICAL
CENTER, SYLVIANA BARSOUM,
M.D., RENU CHHOKRA, M.D., and
ARLEEN LAMBA, M.D.

Defendant(s)

 

lT IS HEREBY STIPULATED AND AGREED, by and between the
undersigned, the attorneys of record for the parties to the
above entitled action, that the above action of plaintiff,
DANIEL TRIPO, against defendant, ROBERT WOOD JOHNSON UNIVERSITY
HOSPITAL S/h/a ROBERT WOOD JOHNSON MEDICAL CENTER, and the same
hereby is dismissed, with prejudice, and without costs to any
party as against the other. This stipulation may be filed
without further notice with the Clerk of the Court.

Dated: August 6, 2013

   

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Amabile & Erman, P.€: Vas§g§; Kelly & Strollo, P.A.

By: Anthony A. Lenza, Jr., Esq. By$;Lauren M. Strollo, Esq.
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